       Case 4:21-cv-00864-KGB            Document 64       Filed 05/25/23      Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION


 PHARMACEUTICAL RESEARCH AND
 MANUFACTURERS OF AMERICA,

                Plaintiff,

       v.

 ALAN MCCLAIN, in his official capacity as
 Commissioner of the Arkansas Insurance
                                                            Case No. 4:21-cv-864-BRW
 Department,

                Defendant,

 COMMUNITY HEALTH CENTERS OF
 ARKANSAS; and PIGGOTT COMMUNITY
 HOSPITAL,

                Intervenor-Defendants.


            JOINT STATUS REPORT ON CLAIM II (COMMERCE CLAUSE)

       1.      Plaintiff Pharmaceutical Research and Manufacturers of America, Defendant Alan

McClain, and Intervenor-Defendants Community Health Centers of Arkansas and Piggott

Community Hospital write to inform the Court that on May 11, 2023, the Supreme Court issued

its decision in National Pork Producers Council v. Ross, No. 21-468 (S. Ct.).            Plaintiff’s

Commerce Clause claim was stayed pending disposition of that case. See ECF Nos. 51, 55.

       2.      The parties are currently evaluating the decision and plan to meet and confer

regarding next steps.

       3.      Accordingly, the parties propose that they file another joint status report regarding

the Commerce Clause claim on June 8, 2023, notifying the Court of the outcome of those

discussions.
       Case 4:21-cv-00864-KGB        Document 64      Filed 05/25/23    Page 2 of 2




Dated: May 25, 2023                       Respectfully submitted,


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